8:11-cr-00287-RFR-MDN             Doc # 237       Filed: 07/30/12   Page 1 of 2 - Page ID # 730




                            UNITED STATES DISTRICT COURT FOR
                                THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )        CASE NO. 8:11CR287
                                              )
                              Plaintiff,      )
                                              )
                      vs.                     )        FINAL ORDER OF
                                              )        FORFEITURE
THOMAS E. JOHNSON,                            )
ANTHONY JOHNSON,                              )
                                              )
                              Defendants.     )


       This matter comes on before the Court upon the United States= Motion for Final Order of

Forfeiture (Filing No. 233). The Court reviews the record in this case and, being duly advised in

the premises, finds as follows:

       1. On May 22, 2012, the Court entered a Preliminary Order of Forfeiture pursuant to the

provisions of Title 21, United States Code, Sections 841(a)(1) and (b)(1), and 853, based upon the

Defendants= pleas of guilty to Counts II, III and IV and the Forfeiture Allegation of the

Superseding Indictment filed herein.       By way of said Preliminary Order of Forfeiture, the

Defendants= interests in $558.00 and $831.00 in United States currency were forfeited to the

United States.

       2. Notice of Criminal Forfeiture was posted on an official internet government forfeiture

site, www.forfeiture.gov, for at least thirty consecutive days, beginning on May 24, 2012, as

required by Rule G(4)(a)(iii)(B) of the Supplemental Rules for Admiralty or Maritime Claims

and Asset Forfeiture Actions. A Declaration of Publication was filed herein on July 24, 2012

(Filing No. 232).
                                                   1
8:11-cr-00287-RFR-MDN            Doc # 237      Filed: 07/30/12      Page 2 of 2 - Page ID # 731




       3. The Court has been advised by the United States no Petitions have been filed. From a

review of the Court file, the Court finds no Petitions have been filed.

       IT IS ORDERED:

       1. The Plaintiff=s Motion for Final Order of Forfeiture (Filing No. 233) is hereby

sustained.

       2.    All right, title and interest in and to the $558.00 and $831.00 in United States currency

held by any person or entity are hereby forever barred and foreclosed.

       3. The $558.00 and $831.00 in United States currency be, and the same hereby are,

forfeited to the United States of America.

       4. The United States is directed to dispose of said property in accordance with law.

       DATED this 30th day of July, 2012.


                                                      BY THE COURT:

                                                      s/Laurie Smith Camp
                                                      Chief United States District Judge




                                                  2
